Case 2:119-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page1of18 Page ID #:577

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COLLINSON, DAEHNKE, INLOW & GRECO
Laura E. Inlow, Esq., State Bar No. 130584

Email: laura.inlow@cdiglaw.com

21515 Hawthorne Blvd., Suite 800

Torrance, CA 90503

Telephone: (424) 212-7777/Facsimile: (424) 212-7757

Attorneys for Defendant, COUNTY OF LOS ANGELES

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
DANIEL NERSOYAN, CASE NO. CV19-08109 SVW (MAAx)
Plaintiff, DEFENDANT’S OPPOSITION TO EX
PARTE TO CONTINUE HEARING
x. ON MOTION FOR SUMAMRY
apeeaenre eager JUDGMENT; DECLARATION OF
,a
county corporation: COUNTY OF Los | PAURAE.INLOW

ANGELES SHERIFF’S.
DEPARTMENT, a public ety
LL, in

SHERIFF JAMES MCDONN
t

individual: DEPULY KENNETH Action Filed: September 18, 2019

COLLINS, individually and in his Trial Date: January 12, 2021

official capacity as a Deputy, and
DOES | through 10, inclusive

Defendants.
TO THE HONORABLE COURT, PLAINTIFF AND HIS ATTORNEY OF

RECORD:
Defendant COUNTY OF LOS ANGELES hereby submits this opposition to

 

plaintiff's ex parte application to continue the hearing date for defendant’s motion
for summary judgment or, in the alternative, motion for partial summary judgment.
(Document No. 49). As reflected herein, there is no good cause and the ex parte

should be denied.

 

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DEFENDANT’S OPPOSITION TO EX PARTE

 
Case 2:

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9-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 2of18 Page ID #:578

I. THE STANDARD FOR EX PARTE RELIEF IS NOT MET
An ex parte application is only appropriate where there is some genuine
urgency such that immediate and irreparable injury, loss, or damage will result to
the applicant before the adverse party or his attorney can be heard in opposition.
Intermagnetics America, Inc. v. China Internat’l (C.D. CA 1989) 101 B.R. 191. An
ex parte proceeding is only appropriate where there is danger that notice to an
opposing party will result in that parties’ flight or destruction of evidence. Franks
yv. Delaware (1978) 438 U.S. 154; In re Intermagnetics America, Inc. v. China
Internat’ (C.D. CA 1989) 101 B.R. 191; Mission Power Engr. Co. v. Continental
Cas. Co. (C.D. Cal. 1995) 883 F. Supp. 488. None of these criteria are met here.
ll. THE PROCEDURAL HISTORY OF THIS CASE ESTABLISHES
PLAINTIFF’S CONSTANT TARDINESS AND DISREGARD FOR
DEADLINES
On September 18, 2019, Plaintiff Daniel Nersoyan filed the original
complaint. (Document No. 1). Defendant filed its motion to dismiss on November
29, 2019. (Document No. 18). Plaintiff failed to file a timely opposition and the
motion to dismiss was granted on December 30, 2019. (Document No. 27).
Plaintiff was granted 21 days leave to file a First Amended Complaint (FAC).
Plaintiff filed a tardy FAC on January 24, 2020. (Document No. 28). Defendant
filed a second Motion to Dismiss the First Amended Complaint (FAC). (Document

No. 30). Plaintiff's Opposition was once again tardy. (Document No. 33). Based on

 

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DEFENDANT’S OPPOSITION TO EX PARTE

 
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19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 3of18 Page ID #:579

a representation of plaintiff's counsel that he was ill, defendant stipulated to
continue the hearing on the motion for dismiss for a month. (Document No. 35).
The motion was granted in part and denied in part and defendant answered the
FAC on July 17, 2020. (Document Nos. 38 and 39).

In its Scheduling Order of September 17, 2020, the court set the Pre-Trial
Conference for January 4, 2021 and Trial for January 12, 2021. (Document No.
45). As no date were given in the Scheduling Order for expert disclosures, per the
FRCP, the disclosure date was October 12, 202. Defendant made a timely initial
disclosure of expert witnesses, but plaintiff did not. (Inlow Decl., {| 2). The date for
rebuttal disclosures was on November 12, 2020 and plaintiff has served no rebuttal
disclosure. (Inlow Decl., § 3). Defendant made its initial disclosure of documents
and witnesses on October 7, 2020 but plaintiff has never made an initial disclosure
as required by FRCP 26(a). (Inlow Decl., 4).

Plaintiff did not serve any written discovery until October 12, 2020 when a
request for production was served. Defendant served a timely response to the
request for production on November 13, 2020. (Inlow Decl., § 5). While
immaterial to the pending motion, defendant did serve written discovery on
plaintiff on July 21, 2020. However, plaintiffs counsel asserted the documents
were never received by his office so an extension was granted with responses to be
served by mail and email by October 2, 2020. The final tardy responses were not

received until October 13, 2020. (Inlow Decl., § 6).

 

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DEFENDANT’S OPPOSITION TO EX PARTE

 

 
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9-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 4of18 Page ID #:580

After deposing plaintiff on October 15, 2020 and meet and confer attempts,
defendant filed the pending motion for summary judgment or, in the alternative,
motion for partial summary judgment on October 26, 2020. The hearing date is
November 30, 2020, just six weeks prior to trial. (Document No. 46). Plaintiff's
opposition was due on November 9, 2020 but no opposition was ever filed.
Defendant filed a notice of no opposition on November 12, 2020. (Document No.
48).

On November 2, 2020, plaintiff's counsel sent an email requesting for the
first time to set the depositions of three County employees. No request was made
for production of documents in this email. (Inlow Decl., §] 7; Exhibit A). Defense
counsel offered dates for all three depositions for the week of November 16, 2020
as requested by plaintiff's counsel. (Inlow Decl., { 8). However, as of noon on
Thursday, November 12, 2020, plaintiff's counsel had never confirmed the offered
deposition times by phone, by email or with any deposition notices. Defense
counsel had also not been provided with any remote deposition information. As
such, defense counsel assumed the depositions were off calendar and so advised
the three deponents. (Inlow Decl., 9). At 2:49 p.m. on Thursday, November 12,
2020, plaintiff's counsel sent an email with notices for the three depositions
beginning on Tuesday, November 17, 2020. The deposition notices also requested
the production of documents by the deponents. (Inlow Decl., {| 10). When defense

counsel objected to the deficient notices, plaintiff's counsel requested that the

 

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DEFENDANT?’S OPPOSITION TO EX PARTE

 
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19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page5of18 Page ID #:581

depositions be taken the week of December 14, 2020, less than a month before
trial. (Inlow Decl., §{ 11).
I. NO GOOD CAUSE EXISTS FOR THE REQUESTED RELIEF

Plaintiff's ex parte fails to establish good cause to continue the hearing on
the pending motion. First, plaintiff has ONLY requested to move the hearing date
but has not sought leave to submit a tardy opposition. Thus, there is no basis to
continue the hearing on the County’s motion for summary judgment. The state of
the evidence as well as the case posture at the time of the presently scheduled
hearing on November 30, 2020 will remain identical if the hearing date remains as
set or whether the hearing is continued. Plaintiff's counsel has not sought any relief
to file a late Opposition, did not meet and confer with the defense to do so, and has
shown no good cause to move the hearing. Therefore, for all purposes, the
County’s motion for summary judgment is unopposed and continuing the hearing
will not change the procedural posture.

Second, plaintiffs counsel has offered no evidence that he is unavailable for
the hearing on November 30, 2020.

Third, the declaration and supplemental declaration submitted by counsel
(Document 50) outline medical issues between October of 2019 and March of
2020. By his own declaration, he was back to full-time work “August/September
2020.” As such, there is no medical reason offered for the failure to submit a

timely opposition to the pending motion. Moreover, plaintiffs counsel has never

 

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DEFENDANT’S OPPOSITION TO EX PARTE

 

 
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9-cv-08109-SVW-MAA Document51 Filed 11/16/20 Page 6of18 Page ID #:582

requested additional time to file an opposition for medical or any other reason.
(Inlow Decl., {| 12).

Finally, defendant will be prejudiced if the motion is continued. As currently
set, the hearing on the motion is a mere six (6) weeks prior to trial and only thirty-
three (33) days prior to the Final Pre-Trial Conference. Defendant needs to know
the causes of action to which it must respond in its trial documents and at trial.
Plaintiff has never requested a trial continuance. (Inlow Decl., 4 12).

IV. CONCLUSION

In conclusion, Petitioner has not demonstrated irreparable harm or prejudice
and there is no existing crisis to warrant granting the Ex Parte petition. This is a
situation exclusively of Petitioner’s own making which does not meet the
requirement of "genuine urgency" necessary for ex parte relief. Accordingly, this

application should be denied.

DATED: November 16, 2020 COLLINSON, DAEHNKE, INLOW & GRECO

By:
/s/ Laura E. Inlow
Laura E. Inlow, Esq.
Attorneys for Defendant
COUNTY OF LOS ANGELES

 

-6-
DEFENDANT’S OPPOSITION TO EX PARTE

 
Case 2

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19-cv-08109-SVW-MAA Document51 Filed 11/16/20 Page 7 of18 Page ID #:583

DECLARATION OF LAURA E. INLOW

I, Laura E. Inlow, declare as follows:

1. Iam a partner of Collinson, Daehnke, Inlow & Greco, counsel of
record for Defendant County of Los Angeles herein. I make the following
declaration based on my own personal knowledge. I could and would competently
testify under oath to the facts stated herein.

Dos Defendant made a timely initial disclosure of expert witnesses, but
plaintiff has not made any expert disclosures.

3. The date for rebuttal disclosures was on November 12, 2020 and
plaintiff has served no rebuttal disclosure.

+, Defendant made its initial disclosure of documents and witnesses on
October 7, 2020 but plaintiff has never made an initial disclosure as required by
FRCP 26(a).

5. Plaintiff did not serve any written discovery until October 12, 2020
when a request for production was served. Defendant served a timely response to
the request for production by mail on November 13, 2020.

6. While immaterial to the pending motion, defendant did serve written
discovery on plaintiff on July 21, 2020. However, plaintiff's counsel asserted the
documents were never received by his office so an extension was granted with

responses to be served by mail and email by October 2, 2020. The final tardy

 

-7-
DEFENDANT’S OPPOSITION TO EX PARTE

 

 
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19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 8 of18 Page ID #:584

responses were not received until October 13, 2020. A true and correct copy of a
letter confirming the extension and tardy responses is attached as Exhibit A.

7. On November 2, 2020, plaintiff's counsel sent an email requesting for
the first time to set the depositions of three County employees. No request was
made for the production of documents in this email. A true and correct copy of said
email is attached as Exhibit B.

8. Through various emails, I offered dates for all three depositions for
the week of November 16, 2020 as requested by plaintiffs counsel. Specifically,
the depositions were offered for November 17, 18 and 20 of 2020.

9. However, as of noon on Thursday, November 12, 2020, plaintiff's
counsel had never confirmed the offered deposition times by phone, by email or
with any deposition notices. I had also not been provided with any remote
deposition information. As such, I assumed the depositions were off calendar and
so advised the three deponents.

10. At 2:49 p.m. on Thursday, November 12, 2020, plaintiffs counsel
sent an email with notices for the three depositions beginning on Tuesday,
November 17, 2020. The deposition notices also requested the production of
documents by the deponents. I sent an email to plaintiff's counsel objecting to the
late notices and the deficient amount of time for a production request. A true and

correct copy of this email is attached as Exhibit C.

 

-8-
DEFENDANT’S OPPOSITION TO EX PARTE

 

 
Case 2:

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19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 9of18 Page ID #:585

11. When I objected to the deficient notices, plaintiff's counsel requested
that the depositions be taken the week of December 14, 2020, less than a month
before trial. A true and correct copy of said email is attached as Exhibit D.

12. Plaintiff's counsel has never requested additional time to submit an
opposition to the pending motion and has never requested a trial continuance.
defendant will be prejudiced if the motion is continued. As currently set, the
hearing on the motion is a mere six (6) weeks prior to trial and only thirty-three
(33) days prior to the Final Pre-Trial Conference. Defendant needs to know the

causes of action to which it must respond in its trial documents and at trial.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed this 16th day of
November 2020 in Torrance, California.

Laura E. Inlow
Laura E. Inlow

 

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DEFENDANT’S OPPOSITION TO EX PARTE

 

 
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 10o0f18 Page ID #:586

EXHIBIT A
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 11o0f18 Page ID #:587

Laura E. Inlow

—— 21515 Hawthorne Blvd., Suite 800
Collinson, Daehnke, Inlow & Greco anise

| Attorneys at Law laura. inlow@cdiglaw.com
ed www.cdiglaw.com

Main: 424.212.7777

Fax: 424.212.7757

October 6, 2020

Via Email and US Mail

Michael S. Devereux, Esq.

Wex Law A Professional Law Corporation
9171 Wilshire Blvd., Suite 500

Beverly Hills, CA 90210

Re: Daniel Nersoyan v. County of Los Angeles, et al.
Case No. 19-CV-08109

Dear Mr. Devereux:

Please accept this letter as my meet and confer with you as required by L.R. 37-1 regarding
plaintiffs failure to respond to the interrogatories, set one, and request for production, set one,
propounded by defendant County of Los Angeles. Both discovery requests were served by mail on
July 21, 2020. When you represented that you had never received the discovery, I granted a 30-day
extension with responses to be mailed and emailed by October 2, 2020. To date, however, I have
received no responses whatsoever. Additionally, I have sent you two emails with no response. I
have tried to call your office for the past two days and always get a busy signal. Finally, I have also
never received plaintiff's initial disclosure of documents and witnesses as required by FRCP 26.

Given the impending trial date, please provide full and complete responses to both
discovery sets as well as the initial disclosure by email by the close of business on October 8, 2020,
Alternatively, I am available to meet telephonically between 1-4 p.m. on October 7, 2020 or
October 8, 2020, or at 1:00 on October 9, 2020 or October 13, 2020. Your anticipated cooperation is
greatly appreciated.

Very truly yours,

COLLINSON, DAEHNKE, INLOW & GRECO

x AAMA EC - . Attn

Laura E. Inlow
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 12 o0f18 Page ID #:588

EXHIBIT B
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 13 0f18 Page ID #:589

Laura E. Inlow

From: mike@wex.law

Sent: Monday, November 2, 2020 6:58 AM

To: Laura E. Inlow

Cc: mike@wex.law

Subject: RE: Depositions for Lt. Kimmura, Lt. Kopperud and Tim Berns; Case: Nersoyan vs. County

of Los Angeles

Hello Laura,

In the near future | need to schedule depositions for Lt. Douglas Kimura, Lt. Ron Kopperud and Tim Berns. My
expectation is that Lt. Kimura’s deposition would be less than three hours, and likely less than one hour for Lt. Kopperud

and Mr. Berns.

What date(s) work(s) best for you?

Wietad Dacre
WEXFORD LAW

9171 Wilshire Boulevard, Suite 500

Beverly Hills, California 90210
Tel. (424) 600-8584
Email: Mike@Wex.Law

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EXHIBIT C
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 15 of 18 Page ID #:591

From: WEX LAW <mike@wex.law>
Sent: Thursday, November 12, 2020 2:49 PM
To: Laura E. Inlow <laura.inlow@cdiglaw.com>

Cc: mike@wex.law
Subject: RE: Nersoyan depos

Laura,

Attached are the notices for the previously agreed dates of November 17, 2020, November 18, 2020 and November 20,
2020.

Are these dates still good?

Do you desire a subpoena? Or are these notices good enough?

Michael Sean Devereux
WEXFORD LAW

9171 Wilshire Boulevard, Suite 500
Beverly Hills, California 90210
Tel. (424) 444-0883
Email: Mike@Wex.Law

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From: Laura E. Inlow [mailto:laura.inlow@cdiglaw.com]
Sent: Friday, November 6, 2020 1:36 PM

To: WEX LAW

Subject: RE: Nersoyan depos

You can send all notices to me

From: WEX LAW <mike@wex.law>

Sent: Friday, November 6, 2020 1:21 PM

To: Laura E. Inlow <laura.inlow@cdiglaw.com>
Subject: RE: Nersoyan depos

Okay, let’s do it on 11/20. Should | send the notice to you? Or do you have the address for him? Tim
Berns? Kopperud?
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 16 of18 Page ID #:592

EXHIBIT D
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 17 of18 Page ID #:593

Laura E. Inlow

From: WEX LAW <mike@wex.law>

Sent: Thursday, November 12, 2020 4:00 PM
To: Laura E. Inlow

Ce: mike@wex.law

Subject: RE: Nersoyan depos

| just left you a message. | will need docs. I’m free the week of Dec 14 and the following two weeks except for 24, 25,
31, &1.

Michael Sean Devereux
WEXFORD LAW

9171 Wilshire Boulevard, Suite 500
Beverly Hills, California 90210
Tel. (424) 444-0883
Email: Mike@Wex.Law

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From: Laura E. Inlow [mailto:laura.inlow@cdiglaw.com]
Sent: Thursday, November 12, 2020 3:48 PM

To: WEX LAW

Subject: RE: Nersoyan depos

OK, | can check these dates but if you want documents you have to give 30-days notice so documents or no
documents?

From: WEX LAW <mike@wex.law>

Sent: Thursday, November 12, 2020 3:42 PM
To: Laura E. Inlow <laura.inlow@cdiglaw.com>
Ce: mike@wex.law

Subject: RE: Nersoyan depos

Hello Laura,
Case 2:19-cv-08109-SVW-MAA Document 51 Filed 11/16/20 Page 18 o0f18 Page ID #:594

Laura E. Inlow

From: Laura E. Inlow

Sent: Thursday, November 12, 2020 3:17 PM
To: WEX LAW

Subject: RE: Nersoyan depos

| also object to all of the notices as they request the production of documents without sufficient notice.

From: WEX LAW <mike@wex.law>

Sent: Thursday, November 12, 2020 3:11 PM
To: Laura E. Inlow <laura.inlow@cdiglaw.com>
Cc: mike@wex.law

Subject: RE: Nersoyan depos

| understand your position. So how do we resolve it?

Michael Sean Devereux
WEXFORD LAW

9171 Wilshire Boulevard, Suite 500
Beverly Hills, California 90210
Tel. (424) 444-0883
Email: Mike@Wex.Law

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Sent: Thursday, November 12, 2020 2:58 PM
To: WEX LAW
Subject: RE: Nersoyan depos

Michael,
It is Thursday and when | had never heard from you, at about 1:00 today | told my people that the depos were
not going forward. Emailing me notices on Thursday at almost 3:00 p.m. for depos starting on Tuesday is

clearly not sufficient notice.
